                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 130 Filed 04/26/21 Page 1 of 3 Page ID #:2520



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                                                                                                                  9   Counterclaimant FARADAY&FUTURE INC.
                                                                                                                 10                          UNITED STATES DISTRICT COURT
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                 11                         CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                 12                                  WESTERN DIVISION
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




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                                                                                                                 14   HONG LIU,                                 Case No. 2:20-cv-08035-SVW-JPR
                                                                                                                 15                    Plaintiff,               Honorable Stephen V. Wilson
                                                                                                                 16        v.                                   STIPULATION FOR DISMISSAL
                                                                                                                                                                WITH PREJUDICE OF CERTAIN
                                                                                                                 17   FARADAY&FUTURE INC.,                      COUNTERCLAIMS
                                                                                                                      SMART KING LTD., JIAWEI
                                                                                                                 18   WANG, and CHAOYING DENG,
                                                                                                                 19                    Defendants.
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                                                                                                                 21 AND RELATED COUNTERCLAIM.
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                                                                                                                                STIPULATION FOR DISMISSAL WITH PREJUDICE OF CERTAIN COUNTERCLAIMS
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                                                                                                                  1         IT IS HEREBY STIPULATED by and between the parties to this action,
                                                                                                                  2   through their counsel of record, that Defendant Faraday&Future Inc.’s (“FF”)
                                                                                                                  3   counterclaims for (i) breach of fiduciary duty (Fifth Counterclaim), (ii) breach of
                                                                                                                  4   employment agreement (Sixth Counterclaim), and (iii) declaratory judgment (Eighth
                                                                                                                  5   Counterclaim), but only to the extent it seeks declaratory relief based upon the Fifth
                                                                                                                  6   Counterclaim and the Sixth Counterclaim, as alleged in FF’s Second Amended
                                                                                                                  7   Counterclaim, be and hereby are dismissed with prejudice, with each party to bear its
                                                                                                                  8   own fees and costs. Nothing in this Stipulation shall affect any party’s rights with
                                                                                                                  9   respect to any other claim or defense that has been asserted in this action.
                                                                                                                 10    Dated: April 26, 2021            SEIDEN LAW GROUP, LLP
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




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                                                                                                                                                         By: /s/ Amiad Kushner
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                                                                               I R V I N E , C A 92614-2545




                                                                                                                                                              AMIAD KUSHNER
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                                 13                                           JAKE NACHMANI
                                                                                                                 14                                       Attorneys for Plaintiff/Counter-Defendant
                                                                                                                                                          HONG LIU
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                                                                                                                 16    Dated: April 26, 2021              FOUNDATION LAW GROUP LLP

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                                                                                                                                                          By: /s/Kevin D. Hughes
                                                                                                                 18
                                                                                                                                                          Attorneys for Plaintiff/Counter-Defendant
                                                                                                                 19                                       HONG LIU

                                                                                                                 20    Dated: April 26, 2021              TROUTMAN PEPPER HAMILTON
                                                                                                                                                          SANDERS LLP
                                                                                                                 21
                                                                                                                 22                                       By: /s/ Kevin A. Crisp

                                                                                                                 23                                       Attorneys for Defendants
                                                                                                                                                          SMART KING LTD., JIAWEI WANG, and
                                                                                                                 24                                       CHAOYING DENG and Defendant and
                                                                                                                                                          Counterclaimant FARADAY&FUTURE INC.
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                                                                                                                              STIPULATION FOR DISMISSAL WITH PREJUDICE OF CERTAIN COUNTERCLAIMS
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                                                                                                                  1                                FILER’S ATTESTATION
                                                                                                                  2         Under L.R. 5-4.3.4(a)(2)(ii), the filer hereby attests that all other signatories to
                                                                                                                  3   this document concur in the content of, and have authorized, this filing.
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                                                                                                                      Dated: April 26, 2021                   By: /s/ Kevin A. Crisp
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                                                                                                                              STIPULATION FOR DISMISSAL WITH PREJUDICE OF CERTAIN COUNTERCLAIMS
